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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                           )
AMERICAN HOSPITAL ASSOCIATION, et al., )
                                           )
                      Plaintiffs,          )
                                           ) Civil Action No. 14-cv-00851 (JEB)
              v.                           )
                                           )
ALEX. M. AZAR, in his official capacity as )
Secretary of Health and Human Services,    )
                                           )
                      Defendant.           )
__________________________________________)


                               DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s November 1, 2018 Order (ECF No. 89), the Secretary of Health

and Human Services (“HHS”) provides this status report to inform the Court that HHS remains

on track to meet the reduction targets set forth in the Court’s November 1 Order. Attached to

this status report are statistics concerning, inter alia, the backlog of appeals at the Office of

Medicare Hearings and Appeals (“OMHA”) as of the end of the fourth quarter of FY 2019. See

Medicare Appeals Dashboard, Exhibit 1. By the end of the fourth quarter of FY 2019, a total of

292,517 appeals remain pending at OMHA, which is a 31.4% reduction from the starting number

of appeals identified in the Court’s November 1, 2018 Order (426,594 appeals).

Dated: December 31, 2019                               Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       JEAN LIN
                                                       Special Counsel
                                                       Federal Programs Branch


                                                       /s/ Nicholas Cartier
                                                       NICHOLAS CARTIER
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